    Case 7:20-cv-01488-PMH-AEK Document 21 Filed 10/20/20 Page 1 of 1
                                                                                  ,      !.     r"
                                                                                              "o,   (
                                                                                                         ,.
                                                                             i        ,-,.
                                                                                                          '
                                                                                               ,7, , , ,··,
                                                                             \.         : , f I




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                         :},\ • r i,,:                     , 1:       {Ok)o~- ·
-----------------------------------------------------------X
                                                                                                               -   •   ,..L   -   _j••   ••••-••   .-.   :




BLANCA N. CASIANO,
                                   Plaintiff,                        20 CIVIL 1488 (PMH)(AEK)

                 -v-                                                       JUDGMENT

ANDREW SAUL, Commissioner of Social
Security,
                     Defendant.
-----------------------------------------------------------X

        It is hereby   ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Stipulation and Order dated October 20, 2020, that the decision of the

Commissioner of Social Security be, and hereby is, reversed and that this action be, and hereby is,

remanded to the Commissioner of Social Security, pursuant to sentence four of 42 U.S.C. § 405(g),

for further administrative proceedings.


Dated: New York, New York
       October 20, 2020

                                                                     RUBY J. KRAJICK

                                                                        Clerk of Court
                                                               BY:

                                                                     ~
